       Case 1:25-cv-00471-TJK         Document 29-10        Filed 02/28/25      Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


NATIONAL URBAN LEAGUE, et al.,

                       Plaintiffs,

       v.                                                  Civil Action No. 25-cv-00471

DONALD J. TRUMP, et al.,

                       Defendants.


     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
                             INJUNCTION

        The Court has considered the parties’ briefing, evidence, and arguments as well as the

authorities cited in support of their positions. Upon due consideration, the Court hereby

GRANTS Plaintiffs’ Motion for Preliminary Injunction pursuant to Federal Rule of Civil

Procedure 65. Defendants and their officers, agents, employees, assigns, and all persons acting

in concert or participating with them are enjoined as follows:

1.      Defendants shall not implement or enforce the following provisions in Executive Order

        Nos. 14151, 14168, or 14173 (collectively, the “Challenged Provisions”), including

        without limitation through the promulgation of any rules or regulations, or in any manner

        by way of contract, subcontract, purchase order, grant, or sub-grant:

            a. Section 2(b)(i) of Executive Order No. 14151 (the “Equity Termination

               Provision”);

            b. Section 2(b)(ii)(C) of Executive Order No. 14151 (the “List Provision”);

            c. Section 3(e) of Executive Order No. 14168 (the “Gender Termination

               Provision”);

            d. Section 3(g) of Executive Order No. 14168 (the “Gender Promotion Provision”);
     Case 1:25-cv-00471-TJK          Document 29-10           Filed 02/28/25    Page 2 of 2




          e. Section 3(c)(ii) of Executive Order No. 14173 (the “DEIA Principles Provision”);

          f. Section 3(c)(iii) of Executive Order No. 14173 (the “Diversity Termination

              Provision”);

          g. Section 3(b)(iv) of Executive Order No. 14173 (the “Certification Provision”);

              and

          h. Section 4(b) of Executive Order No. 14173 (the “Enforcement Threat Provision”).

2.    Defendants shall rescind all agency-wide directives implementing or effectuating the

      Challenged Provisions of Executive Order Nos. 14151, 14168, and 14173 against

      Plaintiffs that were issued prior to this injunction.

3.    Defendants shall reinstate any contracts, subcontracts, grants, or subgrants or other

      agreements that have been rescinded as part of implementing or effectuating the

      Challenged Provisions of Executive Order Nos. 14151, 14168, and 14173.

4.    Defendants shall unwind, rescind, strike, modify, or otherwise rectify contracts,

      subcontracts, agreements, grants, subgrants, and any other such binding documents

      entered into with Plaintiffs, in which terms, clauses, or provisions have been inserted

      pursuant to or in furtherance of the Challenged Provisions of Executive Order Nos.

      14151, 14168, and 14173.

5.    Defendants shall provide notice of this injunction to all Plaintiffs and their

      subcontractors, vendors, and/or sub-grantees for whom such terms, clauses, or provisions

      have already been imposed.

      SO ORDERED.


 Dated: ___________, 2025
                                                                United States District Judge



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